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UNITED STATES DISTRICT COURT FOR
THE SOUTHER DISTRICT OF NEW YORK

 

RICHARD CUFFARO, on behalf of himself
and all others similarly situated,

Plaintiff, CONSENT TO BECOME
A PARTY PLAINTIFF
-against-
Civ. Action No. 18-cv-2987

ROMAN VCHERASHANSKY, ALEX LERNER, STEVEN
UNGER, DEPENDABLE AMBULETTE, INC., ALL-POINTS
AMBULETTE, INC. and GEORGE TOWN MANAGEMENT,
INC.,

Defendants.

 

By my signature below, I hereby authorize the filing and prosecution of the above-styled Fair
Labor Standards Act action in my name and on my behalf.

l Workecl for ROMAN VCHERASHANSKY, ALEX LERNER, STEVEN UNGER,
DEPENDABLE AMBULETTE, INC., ALL-POINTS AMBULETTE and GEORGE TOWN
MANAGEMENT, INC. (“Defendants”). l Worked in excess of forty hours per Week Within
the last three years. Defendants failed to pay me all of the overtime pay they owe me in
accordance With the Fair Labor Standards Act.

l hereby designate The Marlborough Law Firrn, PC and other attorneys With Whom they
may associate to represent me for all purposes in the action.

Name: /Q/'c%czr'o( CM[:/;».T/'O
Signature: ‘M"f¢‘”vv/ €P%N

Date: %'/ L7L/ ")~O/§

